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 2
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 5
 6   Attorney for Plaintiffs
 7
                               IN THE UNITED STATES DISTRICT COURT
 8
                                   FOR THE DISTRICT OF MONTANA
 9                                      GREAT FALLS DIVISION
10
     ANDREW RUNNING CRANE, individually, )
11
     and as Personal Representative of the )
12   Estate of Michael Running Crane,      )
13                                         )
                  Plaintiff,               ) COMPLAINT CV-21-86-GF-BMM-JTJ
14
        vs.                                )
15                                         )
16   UNITED STATES OF AMERICA,             )
                                           )
17
                 Defendant.                )
18                                         )
19
20
     Plaintiff alleges as follows:
21
22   1.          Plaintiff Andrew Running Crane is a surviving brother of Michael Running
23
                 Crane. Andrew Running Crane is the duly appointed, qualified, and acting
24
25               personal representative of the Estate of Michael Running Crane. Andrew
26
                 Running Crane is a citizen of the State of Montana and a resident of Glacier
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     COMPLAINT                                                                  PAGE 1 OF 5
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 1               County, Montana.
 2
     2.          Andrew Running Crane brings this action on behalf of himself, on behalf of
 3
 4               the Estate of Michael Running Crane, and on behalf of the heirs of the
 5
                 Estate of Michael Running Crane, all of whom have sustained lawful
 6
 7               damages as a result of Michael Running Crane’s injuries and death.
 8
     3.          This Court has jurisdiction over this cause of action pursuant to the Federal
 9
10               Tort Claims Act, 28 U.S.C. 2671, et seq., because the claim arises from
11
                 conduct of federal government agents and Plaintiff has exhausted
12
13               administrative remedies.
14
     4.          This Court has exclusive jurisdiction over tort claims brought against the
15
16               United States pursuant to 28 U.S.C. § 1346(b).
17
     5.          Plaintiff filed Federal Tort Claim Act claims on January 21, 2021, and the
18
19               Department of Health and Human Services received the claims on January
20
                 26, 2021. The government has not acted on the claims, therefore Plaintiff’s
21
22               claims are now ripe for adjudication.
23
     6.          Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(e) and 1402(b).
24
25   7.          On November 6, 2019, Michael Running Crane presented to the IHS
26
                 Blackfeet Community Hospital complaining of pain in his chest due to
27
28




     COMPLAINT                                                                   PAGE 2 OF 5
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 1               trauma. IHS health care providers sent him home without diagnosing his
 2
                 injuries, providing relief from his symptoms, or referring him out for
 3
 4               specialized care.
 5
     8.          Michael Running Crane returned to the IHS Blackfeet Community Hospital
 6
 7               on November 14, 2021, complaining of continued pain in his chest. He died
 8
                 at the IHS Blackfeet Community Hospital on November 14, 2021.
 9
10   9.          Health care providers at the IHS Blackfeet Community Hospital violated the
11
                 standard of care beginning on November 6, 2019, when they failed to
12
13               diagnose and treat Michael Running Cranes’s medical condition.
14
     10.         IHS health care providers were negligent and violated the standard of care
15
16               in failing to properly assess and properly treat Michael Running Crane’s
17
                 condition upon his presentations to the IHS in November of 2019.
18
19   11.         IHS health care providers were negligent and violated the standard of care
20
                 in failing to properly assess and refer Michael Running Crane to other
21
22               medical care providers upon his presentations to the IHS in November
23
                 2019.
24
25   12.         The IHS Blackfeet Community Hospital violated the standard of care by not
26
                 being adequately prepared and equipped to treat patients who present
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     COMPLAINT                                                                   PAGE 3 OF 5
                      Case 4:21-cv-00086-BMM Document 1 Filed 07/27/21 Page 4 of 5



 1               with chest pains as a result of trauma.
 2
     13.         As a direct and proximate result of each of the acts and omissions of the
 3
 4               IHS and IHS health care providers alleged in this Complaint, Michael
 5
                 Running Crane’s condition deteriorated and he suffered severe injuries,
 6
 7               resulting in his death.
 8
     14.         Plaintiff should receive lawful damages under Montana’s survival statute,
 9
10               MCA § 27-1-501, and wrongful death statute, MCA § 27-1-513, as follows:
11
                 A.      For the wrongful death of Michael Running Crane and the loss of
12
13                       economic and family support, companionship, affection, society,
14
                         consortium, comfort, and services he provided to his family;
15
16               B.      For Michael Running Crane’s mental anguish, pain, and suffering
17
                         before he died;
18
19               C.      For Michael Running Crane’s funeral and burial costs.
20
     WHEREFORE, Plaintiff demands judgment against the Defendant as follows:
21
22               1.      For judgment in such amounts as shall be proven at the time of trial.
23
                 2.      For an award of attorney's fees and costs as provided by any
24
25                       applicable provision of law.
26
                 3.      For such other and further relief as the Court deems just and
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     COMPLAINT                                                                    PAGE 4 OF 5
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 1                  equitable.
 2
     DATED this 27th day of July, 2021.
 3
 4                                                     /s/ Timothy M. Bechtold
                                                       BECHTOLD LAW FIRM, PLLC
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